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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO.

  HOWARD MICHAEL CAPLAN,

               Plaintiff,

               vs.

  Tim G. Tsiotsias, Individually and d/b/a
  Tsiotsias Chiropractic Center,

            Defendant.
  _______________________________/

                                     COMPLAINT

  Plaintiff HOWARD MICHAEL CAPLAN (hereinafter “Plaintiff”), through the
  undersigned counsel, hereby files this complaint and sues Tim G. Tsiotsias
  (“Tsiotsias”), (hereinafter, referred to as “Defendant”), for declaratory and
  injunctive relief; for discrimination based on disability; and for the resultant
  attorney's fees, expenses, and costs (including, but not limited to, court costs
  and expert fees), pursuant to 42 U.S.C. §12181 et. seq., ("AMERICANS WITH
  DISABILITIES ACT OF 1990," or "ADA") and alleges:


  JURISDICTION
  1.    This Court is vested with original jurisdiction over this action pursuant to
  28 U.S.C. §1331 and §1343 for Plaintiff’s claims arising under Title 42 U.S.C.
  §12181 et. seq., based on Defendant’s violations of Title III of the Americans
  with Disabilities Act of 1990, (hereinafter referred to as the "ADA"). See also
  28 U.S.C. §2201 and §2202.


  VENUE
  2.     The venue of all events giving rise to this lawsuit is located in Broward
  County, Florida. Pursuant to 28 U.S.C. §1391(B) and rule 3.1 of Local Rules of


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  the United States District Court for the Southern District of Florida, this is the
  designated court for this suit.


  PARTIES
  3.     Plaintiff, HOWARD MICHAEL CAPLAN, is a resident of the State of
  Florida.   At the time of Plaintiff’s visit to Tsiotsias Chiropractic Center (“Subject
  Facility”), Plaintiff suffered from a “qualified disability” under the ADA, which
  substantially limits Plaintiff’s major life activities, including but not limited to
  walking, and requires the use of a mobility aid. The Plaintiff personally visited
  Tsiotsias Chiropractic Center, but was denied full and equal access, and full and
  equal enjoyment of the facilities, services, goods, and amenities within Tsiotsias
  Chiropractic Center, which is the subject of this lawsuit. The Subject Facility is a
  chiropractic center and Plaintiff wanted a consultation but was unable to get one
  due to the discriminatory barriers enumerated in Paragraph 15 of this Complaint.


  4.     In the alternative, Plaintiff, HOWARD MICHAEL CAPLAN, is an
  advocate of the rights of similarly situated disabled persons and is a “tester” for
  the purpose of asserting his civil rights and monitoring, ensuring and
  determining whether places of public accommodation are in compliance with the
  ADA.


  5.     Defendant, Tsiotsias is authorized to conduct business and is in fact
  conducting business within the State of Florida. The Subject Facility is located
  at 2030 Washington St., Hollywood, FL 33020. Upon information and belief, Tsiotsias is
  the lessee and/or operator of the Real Property and therefore held accountable of
  the violations of the ADA in the Subject Facility which is the matter of this suit.
  Upon information and belief, Tsiotsias is also the owner and lessor of the Real
  Property where the Subject Facility is located and therefore held accountable for
  the violations of the ADA in the Subject Facility which is the matter of this suit.


  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

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  6.    Plaintiff adopts and re-alleges the allegations stated in paragraphs 1
  through 5 of this complaint, as are further explained herein.


  7.    On July 26, 1990, Congress enacted the Americans with Disabilities Act
  ("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one
  and a half years from enactment of the statute to implement its requirements.
  The effective date of Title III of the ADA was January 26, 1992, or January 26,
  1993 if Defendants had ten (10) or fewer employees and gross receipts of
  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.    As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found,
  among other things, that:

        i. some 43,000,000 Americans have one or more physical or mental
          disability, and this number shall increase as the population continues to
          grow and age;

        ii. historically, society has tended to isolate and segregate individuals
          with disabilities and, despite some improvements, such forms of
          discrimination against disabled individuals continue to be a pervasive
          social problem, requiring serious attention;

        iii. discrimination against disabled individuals persists in such critical
          areas as employment, housing, public accommodations, transportation,
          communication, recreation, institutionalization, health services, voting
          and access to public services and public facilities;

        iv.    individuals   with    disabilities   continually     suffer  forms  of
          discrimination,    including:    outright     intentional    exclusion; the
          discriminatory     effects    of     architectural,    transportation,  and
          communication barriers; failure to make modifications to existing
          facilities and practices; exclusionary qualification standards and
          criteria; segregation, and regulation to lesser services, programs,
          benefits, or other opportunities; and,

        v. the continuing existence of unfair and unnecessary discrimination and
          prejudice denies people with disabilities the opportunity to compete on
          an equal basis and to pursue those opportunities for which this country
          is justifiably famous, and costs the United States billions of dollars in
          unnecessary expenses resulting from dependency and non-productivity.

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  9.      As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated
  that the purpose of the ADA was to:

          i. provide a clear and comprehensive national mandate for the elimination
            of discrimination against individuals with disabilities;

          ii. provide clear, strong, consistent, enforceable standards addressing
            discrimination against individuals with disabilities; and,

          iii. invoke the sweep of congressional authority, including the power to
            enforce the fourteenth amendment and to regulate commerce, in order to
            address the major areas of discrimination faced on a daily basis by
            people with disabilities.

  10.     Pursuant to 42 U.S.C. §12181(7), and 28 CFR §36.104, Title III, no
  individual may be discriminated against on the basis of disability with regards
  to    the   full   and   equal   enjoyment   of   the   goods,   services,   facilities,   or
  accommodations of any place of public accommodation by any person who
  owns, leases (or leases to), or operates a place of public accommodation.
  Tsiotsias Chiropractic Center is a place of public accommodation by the fact it is an
  establishment that provides goods/services to the general public, and therefore,
  must comply with the ADA. The Subject Facility is open to the public, its
  operations affect commerce, and it is an office of a health care provider. See 42
  U.S.C. Sec. 12181 (7) and 28 C.F.R. 36.104. Therefore, the Subject Facility is a
  public accommodation that must comply with the ADA.


  11.     The Defendant has discriminated, and continues to discriminate against
  the Plaintiff, and others who are similarly situated, by denying access to, and
  full and equal enjoyment of goods, services, facilities, privileges, advantages
  and/or accommodations at Tsiotsias Chiropractic Center located at 2030 Washington St.,
  Hollywood, FL 33020, as prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et.
  seq.; and by failing to remove architectural barriers pursuant to 42 U.S.C.
  §12182(b)(2)(A)(iv).




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  12.   Plaintiff has visited the Subject Facility, and has been denied full, safe,
  and equal access to the facility and therefore suffered an injury in fact.


  13.   Plaintiff shall suffer a future injury as Plaintiff intends to return and
  enjoy the goods and/or services at the Subject Facility within the next six
  months. The Subject Facility is in close proximity to Plaintiff’s residence and is
  in an area frequently travelled by Plaintiff. Furthermore, Plaintiff will also
  return to monitor compliance with the ADA. However, Plaintiff is precluded
  from doing so by the Defendant’s failure and refusal to provide people with
  disabilities with full and equal access to their facility. Therefore, Plaintiff
  continues to suffer from discrimination and injury due to the architectural
  barriers, which are in violation of the ADA.


  14.   Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the
  Department of Justice, Office of the Attorney General, promulgated Federal
  Regulations to implement the requirements of the ADA. The ADA Accessibility
  guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, may cause
  violators to obtain civil penalties of up to $55,000 for the first violation and
  $110,000 for any subsequent violation.


  15.   The Defendant is in violation of 42 U.S.C. §12181 et. seq., and 28 C.F.R.

  36.302 et. seq., and is discriminating against the Plaintiff with the following

  specific violations which Plaintiff personally encountered and/or has knowledge

  of:

           a) The customer parking facility in front of the professional building does not

              provide a compliant accessible parking space. 2010 ADA Standards 502.1

           b) The customer parking facility has ten (10) marked standard spaces and zero (0)

              accessible parking spaces. 2010 ADA Standards 208.2



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           c) The parking facility does not have the minimum number of accessible parking

              spaces required. One (1) accessible parking space with adjacent access aisle is

              required. 2010 ADA Standards 208.2

           d) The parking facility does not provide compliant directional and informational

              signage to a compliant accessible parking space. 2010 ADA Standards 216.5

           e) There is no compliant access aisle attached to an accessible route serving any

              existing parking space which would allow safe entrance or exit of vehicle for

              accessible persons requiring mobility devices. 2010 ADA Standards 502.2

           f) There is currently no existing accessible route to help persons with disabilities

              enter the facility or safely maneuver through the parking area. At least one

              accessible route must be provided within the site from accessible parking spaces

              and accessible passenger loading zones; public streets and sidewalks; and public

              transportation stops to the accessible building or facility entrance they serve. 2010

              ADA Standards 206.2.1

           g) There is a vertical change in level (steps) leading from the parking lot up to the

              landing in front of the main entrance door. There is no accessible route via ramp

              or lift for persons with disabilities to gain entrance to the top landing. 2010 ADA

              Standards 301.1

           h) The stairs have non-compliant handrails. Handrail gripping surfaces must have a

              cross section complying with 505.7.1 or 505.7.2. (505.7.1 Circular Cross Section.

              Handrail gripping surfaces with a circular cross section shall have an outside

              diameter of 11/4 inches (32 mm) minimum and 2 inches (51 mm) maximum.

              505.7.2 Non-Circular Cross Sections. Handrail gripping surfaces with a non-



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                circular cross section shall have a perimeter dimension of 4 inches (100 mm)

                minimum and 61/4 inches (160 mm) maximum, and a cross-section dimension of

                21/4 inches (57 mm) maximum.) 2010 ADA Standards 505.7, 505.7.1, 505.7.2

            i) The handrail extensions are missing. Handrail gripping surfaces must extend

                beyond and in the same direction of stair flights and ramp runs. 2010 ADA

                Standards 505.10

            j) The top landing does not meet the minimum maneuvering clearances at the main

                office door. Maneuvering clearances must extend the full width of the doorway

                and the required latch side or hinge side clearance. 2010 ADA Standards 404.2.4

            k) The main office entrance doorway is non-compliant. There is a vertical rise (step)

                at the threshold exceeding the maximum rise allowed. Changes in level of 1/4

                inch high maximum are permitted to be vertical. 2010 ADA Standards 302.2

            l) The facility does not provide compliant directional and informational signage to

                an accessible route which would lead to an accessible entrance. Where not all

                entrances comply, compliant entrances must be identified by the International

                Symbol of Accessibility. Directional signs that indicate the location of the nearest

                compliant entrance must be provided at entrances that do not comply. 2010 ADA

                Standards 216.6

  16.   Upon information and belief there are other current violations of the ADA
  at Tsiotsias Chiropractic Center. Only upon full inspection can all violations be
  identified.   Accordingly, a complete list of violations will require an on-site
  inspection by Plaintiff’s representatives pursuant to Rule 34b of the Federal
  Rules of Civil Procedure.


  17.   Upon information and belief, Plaintiff alleges that removal of the

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  discriminatory barriers and violations is readily achievable and technically
  feasible. To date, the readily achievable barriers and other violations of the
  ADA still exist and have not been remedied or altered in such a way as to
  effectuate compliance with the provisions of the ADA.


  18.   Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,
  the Defendant was required to make the establishment a place of public
  accommodation, accessible to persons with disabilities by January 28, 1992. As
  of this date the Defendant has failed to comply with this mandate.


  19.   The Plaintiff has been obligated to retain the undersigned counsel for the
  filing and prosecution of this action. Plaintiff is entitled to have its reasonable
  attorney's fees, costs and expenses paid by the Defendant, pursuant to 42 U.S.C.
  §12205.


  20.   Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to
  grant Plaintiff injunctive relief, including an order to alter the subject facilities
  to make them readily accessible and useable by individuals with disabilities to
  the extent required by the ADA, and closing the Subject Facility until the
  requisite modifications are completed.


                              REQUEST FOR RELIEF
  WHEREFORE, the Plaintiff demands judgment against the Defendant and
  requests the following injunctive and declaratory relief:


  21. That this Honorable Court declares that the Subject Facility owned, operated
  and/or controlled by the Defendant is in violation of the ADA;


  22.   That this Honorable Court enter an Order requiring Defendant to alter the
  Subject Facility to make it accessible to and usable by individuals with
  disabilities to the full extent required by Title III of the ADA;

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  23.   That this Honorable Court enter an Order directing the Defendant to
  evaluate and neutralize their policies, practices and procedures toward persons
  with disabilities, for such reasonable time so as to allow the Defendant to
  undertake and complete corrective procedures to the Subject Facility;


  24.   That this Honorable Court award reasonable attorney's fees, all costs
  (including, but not limited to court costs and expert fees) and other expenses of
  suit, to the Plaintiff; and


  25.   That this Honorable Court award such other and further relief as it deems
  necessary, just and proper.

  Dated this November 22, 2019.

  Respectfully submitted by:

  Ronald E. Stern
  Ronald E. Stern, Esq.
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  Attorney for Plaintiff, HOWARD MICHAEL CAPLAN




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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO.

   HOWARD MICHAEL CAPLAN,

                Plaintiff,

                vs.

   Tim G. Tsiotsias, Individually and d/b/a
   Tsiotsias Chiropractic Center,

             Defendant.
   _______________________________/

                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 22, 2019, I electronically filed the
   Complaint along with a Summons for each Defendant with the Clerk of Court
   using CM/ECF. I also certify that the aforementioned documents are being
   served on all counsel of record, corporations, or pro se parties identified on the
   attached Service List in the manner specified via Service of Process by an
   authorized Process Server, and that all future pleadings, motions and documents
   will be served either via transmission of Notices of Electronic Filing generated
   by CM/ECF or Via U.S. Mail for those counsel or parties who are not authorized
   to receive electronically Notices of Electronic Filing.

   By: Ronald E. Stern
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                                   SERVICE LIST:

   HOWARD MICHAEL CAPLAN, Plaintiff, vs. Tim G. Tsiotsias, Individually and d/b/a
                     Tsiotsias Chiropractic Center

                United States District Court Southern District Of Florida

                                       CASE NO.


   Tim G. Tsiotsias

   2030 Washington Street
   Hollywood, FL 33020

   VIA PROCESS SERVER




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